               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION
               CRIMINAL CASE NO. 2:04-cr-00093-MR-2



UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                     ORDER
                                )
                                )
MIKE ANTHONY BROWN,             )
                                )
                   Defendant.   )
_______________________________ )


        THIS MATTER is before the Court upon remand from the United

States Court of Appeals for the Fourth Circuit [Doc. 413] for further

consideration of the Defendant’s “Motion for a Sentence Reduction Pursuant

to 18 U.S.C. § 3582(c)(2) and Sentencing Guideline Amendment 782.” [Doc.

391].

I.      BACKGROUND

        On April 22, 2005, the Defendant pleaded guilty to conspiracy to

possess with intent to distribute cocaine base, in violation of 21 U.S.C.§§

841(b)(1)(A) and 846. The Defendant was held responsible for 453.6 grams

of cocaine base. [Presentence Report (PSR), Doc. 404 at 5 ¶ 12]. Prior to



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the guilty plea, the Government filed a notice pursuant to 21 U.S.C. § 851

(“§ 851 Notice”) advising that it would seek a 240-month mandatory minimum

sentence based on the Defendant’s prior North Carolina drug conviction. [Id.

at 4 ¶ 5; § 851 Notice, Doc. 109].

      The probation officer thereafter prepared the presentence report (PSR)

and recommended a total offense level of 33.              With a criminal history

category of IV, the probation officer calculated a guideline range of 188 to

235 months’ imprisonment. [PSR, Doc. 33 at 17 ¶ 81]. With the § 851 Notice

and the attendant mandatory minimum sentence, however, the guideline

range became 240 months. See U.S.S.G § 5G1.1(b) (“Where a statutorily

required minimum sentence is greater than the maximum of the applicable

guideline range, the statutorily required minimum sentence shall be the

guideline sentence.”).

      At sentencing, the Government orally moved for a downward departure

pursuant to U.S.S.G. § 5K1.1 and 18 U.S.C. § 3553(e) on the grounds that

the Defendant had provided substantial assistance to the Government.

[Doc. 230 at 3-4]. The Court1 granted this motion. On November 9, 2005,

the Court imposed a sentence of 210 months, which would have been in the


1 The Honorable Lacy H. Thornburg presided over the Defendant’s sentencing.     After
Judge Thornburg’s retirement, this matter was assigned to the undersigned.
                                           2



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center of the otherwise applicable guideline range, but for the application of

the § 851 Notice. [Judgment, Doc. 209].

      In June 2008, the Defendant filed a motion for reduction of sentence

pursuant to § 18 U.S.C. § 3582(c)(2) and Amendment 706. [Doc. 292, 328].

That motion was denied on the grounds that there was no change in the

guideline calculations due to the statutory mandatory minimum sentence and

the operation of U.S.S.G. § 5G1.1. [Doc. 347].

      On May 18, 2015, the Defendant filed a second motion pursuant to §

3582(c)(2), this time seeking a sentence reduction under Amendment 782.

[Doc. 391].    The probation officer calculated the Defendant’s revised

guideline range to be 121 to 151 months.         [Id. at 2].      Noting that the

Defendant’s original sentence of 210 months was equal to 88% of the 240-

month statutory minimum, the probation officer noted that the Defendant was

eligible for a comparable reduction to 106 months, or 88% of the low end of

the revised Guidelines range.     [Id.].   The Court, however, granted the

Defendant a reduction to 135 months, holding that Defendant’s original

sentence of 210 months was 111.7% of the low end of the original Guideline

Range without the 851 Notice, and that 111.7% of the revised low end




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without the 851 Notice is 135 months.2 [Doc. 396]. The Defendant appealed.

The Court of Appeals vacated the § 3582 order and remanded for

reconsideration in light of its recent decision in United States v. Hardy, ___

F.App’x ___, 2016 WL 473215 (Feb. 8, 2016). [Doc. 413].

II.     DISCUSSION

        In Hardy, the Court of Appeals concluded that the district court failed

to reflect in its § 3582 Order that it followed the steps required by Dillon v.

United States, 560 U.S. 817 (2010). Under Dillon, the Court must: (1) “follow

the [Sentencing] Commission’s instructions” in the policy statement set out

in U.S.S.G. § 1B1.10 “to determine the prisoner’s eligibility for a sentence

modification”; (2) determine “the extent of the reduction authorized”; and (3)

“consider any applicable § 3553(a) factors and determine whether, in its

discretion, the reduction authorized by reference to the policies relevant at

step[s] one [and two are] warranted in whole or in part under the particular

circumstances of the case.” Id. at 827. The Court of Appeals specifically

held that the Order failed to reflect the second step, a consideration of the




2 Calculated another way, 210 months was one month less than the center of the range

from 188 to 235. One month less than the center of the revised range of 121 to 151is
135.

                                         4



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extent of the reduction authorized,3 and that the failure to include this crucial

calculation “strongly suggests that [the District Court] did not appreciate the

scope of its authority.” [Slip op. at 9].

       In the present case, just as in Hardy, the face of the Order does not

reflect the Court having undertaken to calculate the full extent of a reduction

the Defendant may receive. This is because the form AO 247, which is

provided by the Administrative Office of the Courts for the purpose of ruling

on § 3582 motions, has no place for the Court to fill in this required piece of

information.         Having considered the guidance provided by the Court of

Appeals in Hardy, the Court will now undertake to express in proper form its

ruling on the Defendant’s § 3582 motion under Amendment 782.

       While the prior amendments to the Sentencing Guidelines did not

affect the calculation of the Defendant’s sentence, Amendment 782 lowered

the Defendant’s total offense level to 29. This reduction, coupled with the

fact that the Defendant received a sentence less than the mandatory

minimum per § 3553(e), rendered the Defendant eligible for a reduction

under § 3582(c)(2).




3 The Court of Appeals decision refers to this step as essentially part two of the first step.

[Slip op. at 8-9].
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      This brings the Court to the second step of the Dillon analysis, which

was missing from the Court’s prior Order – “to determine . . . the extent of

the reduction authorized.” With a total offense level of 29 and a criminal

history category of IV, the Defendant’s amended guideline range, without

consideration of the otherwise applicable mandatory minimum, is 121 to 151

months. The Defendant originally received a sentence of 210 months, or

88% of his original guideline range of 240 months. Thus, he is potentially

eligible for a sentence as low as 88% of the low end of the new guideline

range, or 106 months.      See U.S.S.G. § 1B1.10(b)(2)(B) (allowing for a

reduction of a comparable percentage below the guideline range).             This

was the position of the Defendant in his motion [Doc. 391], and the Court

concludes that this is correct. In fact, the Court concluded this originally, but

did not adequately document it in the Order, as pointed out by the Court of

Appeals.

      Having determined the Defendant’s eligibility for having his sentence

reduced to as little as 106 months, however, is not the end of the analysis.

While a defendant’s eligibility for a sentence reduction and the extent of the

reduction authorized must be determined without any regard for the

mandatory minimum sentence, see United States v. Williams, 808 F.3d 253,

261 (4th Cir. 2015), the Court may still consider the § 851 Notice in analyzing
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the § 3553(a) factors and formulating an appropriate sentence, as is required

by the third and final step of Dillon.4

      Here, the Defendant was subjected to a mandatory minimum sentence

of 240 months due to his prior qualifying drug conviction. The Government’s

§ 851 Notice has never been withdrawn, and the Defendant’s prior conviction

remains a valid qualifying conviction for an § 851 Notice even after United

States v. Simmons, 649 F.3d 237 (4th Cir. 2011) (en banc). [See PSR, Doc.

404 at 7 ¶ 28]. Therefore, the § 851 Notice should still be considered in

formulating an appropriate sentence.5

      Consideration of the § 851 Notice is particularly appropriate in light of

the fact that § 1B1.10(c) effectively negates the effect of the § 851 Notice in

the calculation of the Defendant’s eligibility for a reduced sentence. In fact,

since § 1B1.10(b)(2)(B) expresses the analysis in terms of a comparable

reduction of the guideline range, § 1B1.10 actually allows for the Defendant




4 This is what the Court attempted to explain in the very limited space on the form AO 247

in the section next to the box checked “other.”

5 After all, in all respects, the mandatory minimum remains 240 months, and the guideline

range remains at that level, except with regard to the calculation of the Defendant’s
eligibility for a reduction pursuant to § 3582(c)(2) and a qualifying amendment. U.S.S.G.
§ 1B1.10(c) (“for the purposes of this policy statement the amended guideline range shall
be determined without regard to the operation of § 5G1.1”).

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to be eligible for a lower sentence because of a prior felony drug conviction

that served as the basis for the § 851 Notice.6

       As stated in the Court’s original Order, the 135-month sentence reflects

the degree to which Amendment 782 reduced the base offense level, the

total offense level, and the guideline range for an offense involving the

quantity of drugs for which the Defendant was held responsible.                         This

sentence allows him the benefit of his cooperation because it provides a

sentence below the mandatory minimum sentence. It does so, however,

while still recognizing the Defendant’s § 851 Notice and his prior criminal

record. This serves to reduce the Defendant’s sentence the equivalent of

four offense levels – reflecting the shift in the § 2D1.1 tables dictated by

Amendment 782 and other recent amendments. It is further in accord with

the § 3553(a) factors as originally analyzed by the Court at sentencing.7


6 For example, if the Defendant had received his 210 month sentence without the 851

Notice, that would have been a sentence in the center of the guideline range. With
Amendment 782 he would then have been eligible for a sentence reduced to the new low
end of the guideline range of 121 months (not 106 months). Analyzing only Defendant’s
eligibility (and ignoring the fact that he originally received a sentence above that for which
he was eligible) Defendant is eligible for an additional 15 month reduction because he
had a prior qualifying drug conviction. Unfortunately, the Defendant’s counsel has not
addressed this issue at all. In fact, the third step of the Dillon analysis was simply ignored
in the Defendant’s § 3582 motion [Doc. 65], and replaced with a formulaic request for the
lowest possible sentence for which the Defendant is eligible, without any further
explanation and without any acknowledgement of the impact of the Defendant’s § 851
Notice.

7 At sentencing, the Court analyzed all of the relevant § 3553(a) factors and arrived upon

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      To the extent that § 1B1.10 and Dillon dictate that the § 3553(a) factors

should be analyzed anew, the Court in its discretion still concludes that 135

months is the correct and appropriate sentence.                 The Defendant was

responsible for a substantial quantity of a dangerous drug (453.6 grams of

crack cocaine). The Court is called upon to formulate a sentence that

recognizes the seriousness of that offense, provides just punishment

therefor, and provides adequate deterrence for such significant drug dealing.

Each of these § 3553(a) factors supports the 135-month sentence. This

sentence further avoids unwarranted sentencing disparities, whereas a

sentence for the lower term for which the Defendant is eligible would not


the 210-month sentence. The only factors to have materially changed are those related
to the seriousness of the offense and the need for just punishment, because those are
the ones related to the analysis based on drug quantity. To that end, this Court gives
dignity to the decision of the sentencing judge.

       Following the remand of this case, Defendant’s counsel filed a Sentencing
Memorandum on Remand [Doc. 410], wherein counsel argues that another factor that
has changed is the Justice Department’s policies regarding the filing of § 851 Notices.
Specifically, the Defendant argues that if the sentencing were held today that the § 851
Notice would not have been filed. [Id. at 6-7]. A change in Justice Department policy is
not cognizable on a motion pursuant to 18 U.S.C. § 3582(c)(2). It is also not a § 3553(a)
factor. More importantly, however, the Government has never sought to withdraw the §
851 Notice in this case. Hence, counsel’s conjecture as to what the Government’s
position might be if this case were brought today is simply belied by the record. When
considering a reduction in sentence pursuant to 18 U.S.C. § 3582(c)(2), the Court must
make an “apples to apples” comparison. The last step of the Dillon analysis does not
wipe the slate clean, but rather calls for the Court to undertake the same § 3553(a)
analysis as it entertained before, but accounting for the attendant reduction in the
guideline range. The Court has carefully considered the other points set out in the
Defendant’s Sentencing Memorandum on Remand and finds them also to be without
merit.
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serve this factor because it would ignore the Defendant’s § 851 Notice, and

his prior record as reflected thereby. In fact it would serve to treat the

Defendant more favorably than a similarly situated non-recidivist defendant

who had not qualified to receive a § 851 Notice, and such disparity would be

unwarranted. This revised sentence also promotes respect for the law, and

considers the nature and circumstances of the offense as well as the history

and characteristics of the Defendant.

       At Defendant’s original sentencing, the Court analyzed Defendant’s

prior convictions, his § 851 Notice and his cooperation in conjunction with

the § 3553(a) factors and determined that these warranted a sentence at the

low end of the guideline range, notwithstanding the mandatory minimum

sentence. That is precisely what the Court now imposes, considering the

reduction which the Defendant is allowed because of Amendment 782.

       For these reasons, the Court determines that 135 months is the

appropriate sentence to which the Defendant’s sentence should be

reduced.8




8 The Court notes that with this reduction Defendant should soon be released, having

served such sentence. The Court declines, however, to grant a time-served sentence
because the Bureau of Prisons is in a better position than this Court to calculate precisely
when this 135-month term has been satisfied.
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     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Sentence Reduction [Doc. 391] is GRANTED, and the Defendant’s sentence

is hereby REDUCED to a term of 135 months.


    IT IS SO ORDERED.



                              Signed: April 12, 2016




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